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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

               Plaintiff,

       v.                                          Civil Action No. 22-659 (TJK)

NANCY PELOSI et al.,

               Defendants.


                                           ORDER

       For the reasons set forth in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that Plaintiff’s Motion for Injunction Pending Appeal, ECF No. 36, is GRANTED

IN PART and DENIED IN PART. It is ORDERED that Plaintiff’s request for an injunction

pending appeal is DENIED. It is also ORDERED that Plaintiff’s request for a brief administrative

injunction is GRANTED. It is further ORDERED that House Defendants are temporarily EN-

JOINED from enforcing the subpoena and Salesforce is temporarily ENJOINED from complying

with the subpoena. It is further ORDERED that this administrative injunction will dissolve auto-

matically on May 25, 2022.

       SO ORDERED.

                                                           /s/ Timothy J. Kelly
                                                           TIMOTHY J. KELLY
                                                           United States District Judge
Date: May 20, 2022
